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                      EXHIBIT 14
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Concentration of Opioid-Related Industry Payments in Opioid Crisis
Areas
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J Gen Intern Med 34(2):187-9                                                  utilized public databases and therefore was exempt from
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                                                                              Institutional Review Board approval.


                         INTRODUCTION
                                                                                                                           RESULTS
The misuse of opioids has led to dramatic increases in
                                                                              In 2016, there were 42,249 opioid-related deaths in the coun-
opioid-related mortality with opioid-related deaths in-
                                                                              try with an overall rate of 13.1 deaths per 100,000 population.
creasing by 345% from 2001 to 2016 in the USA. I' 2
                                                                              The top three counties in per capita opioid-related deaths were
The marketing of opioids by the pharmaceutical industry
                                                                              Harrison County in Kentucky and Cabell County and Wayne
to providers is well documented, with         in 12 US1
                                                                              County in West Virginia (118, 91, and 84 deaths per 100,000
physicians receiving opioid-related industry payments.3
                                                                              population, respectively). The pharmaceutical industry gave
However, it is unclear how or even if pharmaceutical
                                                                              out 172,147 opioid-related payments totaling $9,861,414 to
industry payments are related to opioid-related deaths, or
                                                                              31,532 unique providers. Payment categories consisted of
if disparities exist in marketing efforts for at -risk popu-
lations. We examined if opioid-related industry payments                      speaking fees ($5,101,067; n = 3553), meals ($2,674,994;
                                                                              n = 166,143), consulting fees ($1,456,925; n = 525), travel
to healthcare providers were associated with opioid-
                                                                              ($583,891; n = 1501), honoraria ($46,010; n = 48), and educa-
related deaths by US county in 2016.
                                                                              tion ($3927; n = 377). The payments were made by 11 differ-
                                                                              ent pharmaceutical companies, with 4 paying more than $1
                             METHODS
                                                                                                                                                                        rlw=O.OS
                                                                                                                                                                        P < 0.001
We used the Centers for Medicare & Medicaid Services                             120-                                            o
(CMS) Open Payments General Payment 2016 database
to examine industry (non -research, non -ownership relat-
                                                                                 100-
ed) payments given by county to providers in associa-
                                                                                                                                             o
tion with opioid drugs, as listed on the CMS Opioid                                                        o
                                                                                                                             o
Drug List.4 We obtained opioid-related deaths in 2016                             80-
                                                                                                                                                   o
by county from the Centers for Disease Control and                                       o
                                                                                                                            00
                                                                                         o
Prevention WONDER Multiple Cause of Death database                               60-                                       ° OOO O
                                                                                         o                                     O°O
by classifying underlying cause of death related to poi-
soning (ICD-10 codes X40 -X44, X60-64, X85, and
                                                                                                               °      O          0% oÓ
                                                                                                                            ®        o      O° O
Y10-Y14) and multiple cause of death codes related to                             40-    e                      oO     c00,9 °gb;°
                                                                                                                                ;)
                                                                                                                                         p°                O


opioids (ICD-IO codes T40.0-T40.4 and T40.6).5                                                                          . K.... .,..{,_.
                                                                                                                     ° Q9:,
                                                                                                  o                  ...s*Y«'..
  To account for variation in county size, we adjusted                           20-                       o°
opioid-related deaths and opioid-related open payments
                                                                                         O
by county population in 2016 as provided by the WON-
DER database. We used the Spearman rank correlation                                 -1   0   1        10             100             1000          10000       100000     1000000

to  analyze the association of the per capita opioid-                                        Opioid Related Open Payment ($ per 100,000 population)

related open payments and per capita opioid-related                          Figure 1 Relationship between opioid-related open payment amount
deaths by county. Geographic data of payments and                            and opioid-related deaths by US county in 2016. Both are calculated
                                                                             per 100,000 population in the given county. Each point represents a
deaths were mapped using geographic information sys-                           separate US county. There was a weak, statistically significant
tem technology (ArcGIS; Redlands, CA).6 This study                             relationship between opioid-related open payment amount and
                                                                             opioid-related deaths. P values were generated using the Spearman
Published online November 6. 2018                                                                      rank correlation.
                                                                                                                                                                             187

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                                                                                                                   EXHIBIT
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million: Depomed, Inc. ($2,738,320), Purdue Pharma L.P.                    There was a statistically significant association between per
($2,579,917), INSYS Therapeutics Inc. ($2,393,125), and                 capita opioid-related industry payments and per capita opioid-
Pfizer Inc. ($1,105,197). County opioid-related deaths had              related deaths by county (rho = 0.08, P < 0.001) (Fig. 1). An
an average of 4.5 deaths per 100,000 population (standard               increase in $10,000 opioid-related industry payments per
deviation [SD], 10.5) and opioid-related industry payments              100,000 population was associated with an increase in 0.89
had an average of $1137 (SD 8833) per 100,000 population.               opioid-related deaths per 100,000 population. The distribution




 A. Opioid-related deaths by US county in 2016.                                                     Opioid Related Deaths per 100,000 population
                                                                                                          lm >30
                                                                                                          mg 25-30
                                                                                                                    20-25
                                                                                                          ®  15-19.9
                                                                                                          r1 10-14.9
                                                                                                          rl
                                                                                                          )     l
                                                                                                                    5-9.9
                                                                                                                    0.1-4.9
                                                                                                          0 None reported




      B. Opioid-related industry payments by US county in 2016.                                  Opioid Related Industry Payments per 100,000 population
                                                                                                      MI Top Quartile ($366 471 - $1170)
                                                                                                      D 3"' Quartile ($1170 - $498)
                                                                                                      r--1 2"d Quartile ($201 - 498)
                                                                                                              111 Quartile ($1 - $201)
                                                                                                      0 No Payments

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Figure 2 Mapping of opioid-related deaths and opioid-related industry payments by US county in 2016. a Opioid-related deaths per 100,000 by
US county in 2016. b Opioid-related industry payments per capita by US county in 2016. Counties are categorized by quartiles of regions that
                                                 received opioid-related industry payments.
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of opioid-related deaths and opioid-related industry payments        Corresponding Author: Austin J. Lee, B.A.; University of Pittsburgh
is mapped in Figure 2.                                               School of Medicine, Pittsburgh, PA. USA (e-mail: Ajl97@pitt.edu).


                                                                     Compliance with Ethical Standards:
                       DISCUSSION
                                                                     Conflict of Interest: The authors declare that they do not have a
Our study demonstrated that US counties that receive                 conflict of interest.
more opioid-related industry payments had more opioid-
related deaths. To our knowledge, this is the first study
investigating industry payments and mortality data.                                               REFERENCES
While it is tempting to conclude that these payments                 1.   Rudd RA, et al. Increases in drug and opioid overdose deaths-United
caused more indiscriminate opioid prescribing and sub-                    States, 2000-2014. Am J Transplant, 2016. 16(4): p. 1323-1327.
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sequent overdoses, there are also alternate explanations.                 States. JAMA Network Open, 2018. 1(2): p. e180217 -e180217.
The causal arrow may point in the other                              3.   Hadland SE, Krieger MS, Marshall BD. Industry payments to physicians
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direction-companies may direct payments to areas                          1493-1495.
where there are higher rates of opioid prescribing. There            4.   Centers for Medicare and Medicaid Services. Open payments dataset
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Nonetheless, the results are very concerning and call                     Accessed 4 Aug 2018.
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opioid crisis, it is imperative to rigorously consider the                United States, 1999-2016, in NCHS Data Brief, no 294. 2017, National
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in at -risk populations.
